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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter 7
                                                                  )
ART VAN FURNITURE, LLC, et al.,1                                  )   Case No. 20-10553 (CSS)
                                                                  )
                                   Debtors.                       )   (Jointly Administered)
                                                                  )
                                                                  )   Re: Docket No. 511

                              ORDER APPROVING
                  (I) SALE OF PURCHASED ASSETS TO LEVIN
                 FURNITURE, LLC AND LEVIN TRUCKING, LLC
           FREE AND CLEAR OF LIENS, CLAIMS, AND ENCUMBRANCES;
     (II) REJECTION OF CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL
    REAL PROPERTY; (III) ASSUMPTION OF CERTAIN ASSUMED CONTRACTS;
                     AND (IV) GRANTING RELATED RELIEF

                   Upon the motion (the “Motion”)2 of Alfred T. Giuliano, chapter 7 trustee (the

“Trustee”) to the estates of the above-captioned debtors (collectively, the “Debtors”), pursuant to

sections 105, 363, 365, and 554 of Title 11 of the United States Code (the “Bankruptcy Code”)

and Rules 2002, 6004, and 6006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), for entry of an order (this “Order”) authorizing the (i) sale of the Purchased Assets to

Levin Furniture, LLC (the “Furniture Buyer”) and Levin Trucking, LLC (the “Trucking Buyer”,

and together with the Furniture Buyer, the “Purchaser”) free and clear of all liens, claims, and

encumbrances; (ii) the rejection of the leases of the Subject Stores (the “Rejected Leases”); (iii)

assumption of Assumed Contracts; and (iv) granting related relief, all as more fully described in

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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
    AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
    (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
    LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The
    location of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan
    48092.
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    A capitalized term used but not defined herein shall have the meaning ascribed to it in the Motion or APA, as
    applicable.




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the Motion; and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

consideration of the Motion and the requested relief being a core proceeding pursuant to 28

U.S.C. § 157(b); and the Court finding that it may enter a final order consistent with Article III

of the United States Constitution; and venue being proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and due and proper notice of the Motion and the proposed sale having been

provided; and the relief requested in the Motion being in the best interests of the Debtors, their

estates, and their creditors; and the Court having reviewed the Motion; and the Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein; and upon all of the proceedings had before the Court, and after due

deliberation and sufficient cause appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.   The Motion is GRANTED as set forth herein.

                   2.   All objections and responses to the Motion, including all reservations of

rights included therein that have not been overruled, withdrawn, waived, settled, continued, or

resolved, are hereby overruled and denied

                   3.   The form and manner of notice of the Motion and the proposed sale under

the APA is hereby approved as providing good and sufficient notice to all creditors and parties in

interest pursuant to the Bankruptcy Rules and the Local Rules.

                   4.   The Asset Purchase Agreement (“APA”), in substantially the form

attached hereto as Exhibit 1, and all of the terms and conditions thereof, are approved.




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The relief requested in the Motion is in the best interests of the Debtors, their estates, creditors,

and other parties in interest. Upon the record made at the Sale Hearing, the Trustee has

demonstrated good, sufficient, and sound business purposes and justifications for the relief

requested in the Motion. The Trustee's decision to enter into the APA and perform thereunder is

a reasonable exercise of his business judgment.

                   5.   The failure specifically to include any particular provision of the APA in

this Order shall not diminish or impair the effectiveness of such provision, it being the intent of

the Court that the APA be authorized and approved in its entirety.

                   6.   Pursuant to section 363(b) of the Bankruptcy Code, the Trustee, on behalf

of the Debtors, is authorized to perform its obligations under and comply with the terms of the

APA and consummate the Sale, pursuant to and in accordance with the terms and conditions of

the APA.

                   7.   The Trustee, on behalf of the Debtors, is authorized to execute and deliver,

and empowered to perform under, consummate, and implement, the APA, together with all

additional instruments and documents that may be reasonably necessary or desirable to

implement the APA, and to take all further actions as may be reasonably required for the purpose

of assigning, transferring, granting, conveying, and conferring the Purchased Assets to the

Purchaser, or as may be necessary or appropriate to the performance of the obligations as

contemplated by the APA.

                   8.   Upon the closing of the Sale, the Sale of the Purchased Assets to the

Purchaser shall vest the Purchaser with all right, title, and interest in the Purchased Assets, and,

pursuant to section 363(f) of the Bankruptcy Code, the Sale shall be free and clear of any and all

liens, claims, and encumbrances against the Purchased Assets, with such liens, claims (as defined




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in section 101(5) of the Bankruptcy Code), interests, and encumbrances attaching to the proceeds

of the Sale with the same validity, extent and priority as such liens, claims, and encumbrances

had on the Purchased Assets immediately prior to the Sale, subject to any rights, claims and

defenses of the Debtors and other parties in interest.

                   9.    The assumption and assignment of the Assumed Contracts pursuant to the

terms of the APA and this Order is integral to the Sale and is in the best interests of the Debtors,

their estates, their creditors, and parties-in-interest, and represents the reasonable exercise of

sound and prudent business judgment by the Trustee. The Trustee has met all requirements of

section 365(b) of the Bankruptcy Code for each of the Assumed Contracts, and the Purchaser has

provided adequate assurance of future performance under the relevant Assumed Contracts within

the meaning of sections 365(b)(1)(C), 365(b)(3) and 365(f)(2)(B) of the Bankruptcy Code.

                   10.   Each of the Assumed Contracts shall be assumed by the Trustee, on behalf

of the Debtors’ estates, effective as of the Closing Date under the APA, and assigned to the

Purchaser free and clear of all liens, claims (as defined in section 101(5) of the Bankruptcy

Code), and encumbrances, in accordance with section 363(f), against the Purchaser

notwithstanding any provision in the Assumed Contracts or other restrictions prohibiting their

assignment or transfer.

                   11.   The Purchaser shall be responsible for and shall pay all Cure Amounts in

connection with the assumption and assignment of any Assumed Contract to the Purchaser as of

the Closing Date.

                   12.   The transactions contemplated by the Purchase Agreement are undertaken

by the Purchaser in good faith, as that term is used in section 363(m) of the Bankruptcy Code,

and, accordingly, the reversal or modification on appeal of the authorization provided herein to




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consummate the Sale shall not affect the validity of the Sale of the Purchased Assets to the

Purchaser.     The Purchaser, its affiliates, and their respective principals and advisors have

proceeded in good faith and without collusion in all respects and are entitled to all of the

protections afforded by section 363(m) of the Bankruptcy Code.

                   13.   The consideration provided by the Purchaser for the Purchased Assets

under the APA is fair and reasonable and may not be avoided under section 363(n) of the

Bankruptcy Code.

                   14.   The proceeds of the Purchased Assets shall be subject to the Second

Interim Order (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate

Protection to the Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)

Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 372] and the payment

provisions of paragraph 12 thereunder. Notwithstanding the foregoing, this provision shall not

extend to the Customer Claim Advance, the Customer Claim Advance Fund or the Excess Funds

(all as defined in the APA).

                   15.   Upon the closing of the Sale, any and all respective rights and obligations

of the Trustee and/or the Purchaser pursuant to the Interim Order: (I) Authorizing Secured Post-

Petition Financing Pursuant to 11 U.S.C. Section 105, 361, 364(c) and 364(d); (II) Scheduling a

Final Hearing; and (III) Granting Related Relief [Docket No. 137] (“Interim DIP Order”) are

hereby deemed satisfied and extinguished in full. For the avoidance of doubt, upon the closing

of the Sale, any claim or right that may exist for the Purchaser with respect to the Interim DIP

Order is deemed waived upon closing of the Sale and any lien arising from the Interim DIP

Order is hereby terminated and deemed extinguished without further order of this Court.

                   16.   The Purchaser is hereby granted a first lien and senior security interest,




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senior to all liens, claims and encumbrances in the Excess Funds (as defined in the APA) which

shall be deemed properly perfected without the need for any subsequent filing in the federal,

state or local governmental agencies.

                   17.   Any Purchased Assets subject to the trademark infringement allegations

asserted by JoFran Sales, Inc. will be caused by the Trustee, with the cooperation and assistance

of the Purchaser, to be disposed of and shall not be transferred to Purchaser and shall not be

resold, transferred for sale, or otherwise continue in the stream of commerce, other than as

agreed between Jofran Sales, Inc. and the Trustee.

                   18.   No bulk sale law or any similar law of any state or other jurisdiction shall

apply in any way to the Sale and the transactions contemplated by the APA.

                   19.   The Purchaser shall not have any liability for any obligation of the Debtors

arising under or related to any of the Purchased Assets. Without limiting the generality of the

foregoing, the Purchaser shall not be liable for any claims against the Debtors or any of their

predecessors or affiliates solely by virtue of its acquisition of the Purchased Assets. By virtue of

the Sale, the Purchaser and its affiliates, successors and assigns shall not be deemed or

considered to, (a) be a legal successor, or otherwise be deemed a successor to any of the Debtors,

(b) have, de facto or otherwise, merged with or into any or all Debtors, or (c) be a continuation or

substantial continuation, or be holding itself out as a mere continuation, of any of the Debtors or

their respective estates, businesses or operations, or any enterprise of the Debtors, in each case

by any law or equity, and the Purchaser has not assumed nor is it in any way responsible for any

liability or obligation of the Debtors or the Debtors’ estates. The Purchaser shall have no

successor or vicarious liabilities of any kind or character, including, but not limited to, any

theory of antitrust, environmental, successor or transferee liability, labor law, de facto merger or




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substantial continuity, whether known or unknown as of the Closing Date, now existing or

hereafter arising, whether fixed or contingent, with respect to the Debtors or any obligations of

the Debtors arising prior to the Closing Date.

                   20.   The Rejected Leases shall be deemed rejected, pursuant to section 365(a)

of the Bankruptcy Code, upon the Trustee filing a notice with the Court, subsequent to the

closing of the Sale, declaring that it has irrevocably surrendered the premises concerning a

Rejected Lease (the date of such notice, the “Rejection Effective Date”). A Rejected Lease shall

be deemed terminated effective as of the Rejection Effective Date.           Notwithstanding the

foregoing or anything to the contrary contained in this Order, the Motion, or the APA, the leases

for the following Subject Stores are excluded from the definition of Rejected Leases and are

unaffected by the relief granted herein: (a) 1801 Nagel Road, Avon, Ohio (Store No. 27), (b)

16960 Sprague Road, Middleburg Heights, Ohio (Store No. 30), (c) 6229 Promler Avenue, North

Canton, Ohio (Store No. 28), (d) 7799 Mentor Avenue, Mentor, Ohio (Store No. 31), and (e) 124

Levin Way, Monroeville, Pennsylvania (Store No. 137).

                   21.   Effective automatically upon the Rejection Effective Date of the Rejected

Leases with the Releasing Landlords, (i) each Releasing Landlord fully and unconditionally

releases and waives any and all claims against the Trustee, the Seller, the Debtors and its and

their affiliates and their respective bankruptcy estates, and (ii) the Rejected Leases shall be

deemed rejected and terminated as of the Rejection Date.

                   22.   All claims by the Releasing Landlords against the Debtors, their estates,

and the Trustee, including administrative expense claims arising under sections 365, 503(b), or

any other applicable section of the Bankruptcy Code, are deemed waived and disallowed in their

entirety.




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                   23.   Any of the Debtors’ owned personal property assets located on the

premises underlying a Rejected Lease shall be deemed abandoned, without further order of this

Court, pursuant to section 554(a) of the Bankruptcy Code as of the Rejection Effective Date.

                   24.   Notwithstanding anything in this Order or the APA to the contrary, the

Trustee shall provide a copy to the Debtors’ (a) ABL Lender, Wells Fargo Bank, and (b)

Prepetition Term Loan Agent, Virtus Group LP, of the periodic accounting reports provided to

the Purchaser pursuant to Section 6.13(j) of the APA.

                   25.   Nothing in this Order shall limit, release, or affect any claims of Samalex

Trust, including but not limited to claims arising under the rejection of its lease of non-residential

real property, or any defense to such claims.

                   26.   Notwithstanding anything in this Order or the APA to the contrary, no

rights (if any) under certain implied licenses, or otherwise, for photographs produced by Pirrillo

Digital Imaging, Inc. are being transferred to the Purchaser pursuant to this Order or the APA.

                   27.   Notwithstanding anything in this Order or the APA to the contrary, no

software or hardware licensed by the Debtors from Oracle America, Inc. (“Oracle”) will be

transferred without Oracle’s prior written consent.

                   28.   Notwithstanding anything in this Order or the APA to the contrary: (i) no

rights under that certain (x) Vendor Buying Agreement between the Debtors and Tempur Sealy

International, Inc. and its subsidiaries and affiliates (collectively, “Tempur Sealy”), (y) Multi-

Line Retailer Agreement between the Debtors and Tempur Sealy, and (z) incentive agreement

between the Debtors and Tempur Sealy (collectively, as amended, the “Tempur Sealy

Agreements”) are being transferred to the Purchaser pursuant to this Order or the Purchase

Agreement; (ii) the Purchaser shall not be permitted to utilize, without the express permission of




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Tempur Sealy, any intellectual property assets of Tempur Sealy including, but not limited to,

Tempur-Pedic®, Sealy® and Stearns & Foster® trade names and trademarks (the “Tempur Sealy

Marks”); provided, however, that the foregoing shall not (x) in any way preclude the Purchaser

from selling any Purchased Assets that includes the Tempur Sealy Marks, or (y) obligate the

Purchaser to remove any Tempur Sealy Marks from the Purchased Assets in connection with

such sales or otherwise; provided further, however, that Purchaser shall not be permitted to

include Tempur Sealy Marks in advertising or other promotions; (iii) Purchaser shall not be

entitled to assert a claim against Tempur Sealy for indemnification, warranties, rebates, or

incentives that may otherwise be due and owing to the Debtors pursuant to the Tempur Sealy

Agreements; and (iv) Tempur Sealy reserves all of its rights and remedies under the Tempur

Sealy Agreements against the Debtors and nothing in this Order or the Purchase Agreement shall

abrogate Tempur Sealy’s rights under the Tempur Sealy Agreements against the Debtors;

provided that Tempur Sealy shall not be entitled to assert any such rights against the Purchaser or

any purchaser of any Purchased Assets, the Debtors shall not be entitled to assert any claim

against the Purchaser or any purchaser of any Purchased Assets in connection with any assertion

of rights by Tempur Sealy against the Debtors under the Tempur Sealy Agreements and neither

the Purchaser nor any purchaser of any Purchased Assets shall have any liability to any person or

entity, including without limitation, Tempur Sealy and the Debtors, under, or in connection with,

the Tempur Sealy Agreements.

                   29.   Notwithstanding anything in this Order or the APA to the contrary: (i) no

rights under that certain (x) 2019 Vendor Buying Agreement dated January 17, 2019 between the

Debtors and Serta Simmons Bedding Company and its subsidiaries and affiliates (collectively,

“SSB”), (y) the Serta Simmons Bedding Authorized Dealer Terms and Conditions, effective as




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of January 2019, and (z) the Beautyrest® Dealer Policies (collectively, as amended from time to

time, the “SSB Agreements”) are being transferred to the Purchaser pursuant to this Order or the

Purchase Agreement; (ii) the Purchaser shall not be permitted to utilize, without the express

permission of SSB, any intellectual property assets of SSB including, but not limited to,

Beautyrest® trade names and trademarks of SSB (the “SSB Marks”); provided, however, that the

foregoing shall not (x) in any way preclude the Purchaser from selling any Purchased Assets that

includes the SSB Marks, or (y) obligate the Purchaser to remove any SSB Marks from the

Purchased Assets in connection with such sales or otherwise; provided further, however, that the

Purchaser shall not be permitted to include SSB Marks in advertising or other promotions; (iii)

the Purchaser shall not be entitled to assert a claim against SSB for indemnification, warranties,

rebates, or incentives that may otherwise be due and owing to the Debtors pursuant to the SSB

Agreements (if any); and (iv) SSB reserves all of its rights and remedies under the SSB

Agreements against the Debtors and nothing in this Order or the Purchase Agreement shall

abrogate SSB’s rights under the SSB Agreements against the Debtors; provided that SSB shall

not be entitled to assert any such rights against the Purchaser or any purchaser of any Purchased

Assets, the Debtors shall not be entitled to assert any claim against the Purchaser or any

purchaser of any Purchased Assets in connection with any assertion of rights by SSB against the

Debtors under the SSB Agreements and neither the Purchaser nor any purchaser of any

Purchased Assets shall have any liability to any person or entity, including without limitation,

SSB and the Debtors, under, or in connection with, the SSB Agreements; provided, however,

that, for the avoidance of doubt, nothing herein is intended to exculpate the Purchaser or any

purchaser of any Purchased Assets for use of the SSB Marks in violation of the limitations set

forth in this paragraph.




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                   30.   Notwithstanding anything in this Order or the APA to the contrary: (i) no

rights under certain vendor agreements (collectively, the “Serta Agreements”) between the

Debtors and Serta Restokraft Mattress Company (“Serta”) are being transferred to the Purchaser

pursuant to this Order or the Purchase; (ii) the Purchaser shall not be permitted to utilize, without

the express permission of Serta, any intellectual property assets of Serta (the “Serta Marks”);

provided, however, that the foregoing shall not (x) in any way preclude the Purchaser from

selling any Purchased Assets that includes the Serta Marks, or (y) obligate the Purchaser to

remove any Serta Marks from the Purchased Assets in connection with such sales or otherwise;

provided further, however, that the Purchaser shall not be permitted to include Serta Marks in

advertising or other promotions; (iii) the Purchaser shall not be entitled to assert a claim against

Serta for indemnification, warranties, rebates, or incentives that may otherwise be due and owing

to the Debtors pursuant to the Serta Agreements; and (iv) Serta reserves all of its rights and

remedies under the Serta Agreements against the Debtors and nothing in this Order or the

Purchase Agreement shall abrogate Serta’s rights under the Serta Agreements against the

Debtors; provided that Serta shall not be entitled to assert any such rights against the Purchaser

or any purchaser of any Purchased Assets, the Debtors shall not be entitled to assert any claim

against the Purchaser or any purchaser of any Purchased Assets in connection with any assertion

of rights by Serta against the Debtors under the Serta Agreements and neither the Purchaser nor

any purchaser of any Purchased Assets shall have any liability to any person or entity, including

without limitation, Serta and the Debtors, under, or in connection with, the Serta Agreements.

                   31.   All time periods set forth in this Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

                   32.   If any person or entity that has filed statements (including UCC-1




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financing statements) or other documents or agreements evidencing Encumbrances on, or

interests in, all or any portion of the Purchased Assets shall not have delivered to the Trustee, in

proper form for filing and executed by the appropriate parties, termination statements,

instruments of satisfaction, releases of Encumbrances or any other documents necessary for the

purpose of documenting the release of all Encumbrances or interests which the person or entity

has or may assert, the Trustee is hereby authorized, and the Purchaser is hereby authorized on

behalf of the Debtors’ estates and the Trustee, to execute and file such statements, instruments,

releases, and other documents on behalf of such person or entity with respect to the Purchased

Assets.

                   33.   This Order shall be binding upon and shall govern the acts of all entities,

including, without limitation, all filing agents, filing officers, administrative agencies,

governmental departments, secretaries of state, federal, state and local officials, and all other

persons and entities who may be required by operation of law, the duties of their office, or

contract, to accept, file, register or otherwise record or release any documents or instruments, or

who may be required to report or insure any title to or interest in any of the Purchased Assets.

                   34.   The failure to specifically include any particular provision of the APA in

this Order shall not diminish or impair the effectiveness of such provision, it being the intent of

the Court that that APA be authorized and approved in its entirety; provided, however, that this

Order shall govern if there is any inconsistency between the APA and this Order.

                   35.   The Purchaser is a party in interest and shall have standing to appear and

be heard on all issues related to or otherwise connected with this Order, the Sale or the APA.

                   36.   Within three (3) business days after entry of this Order, the Trustee will

serve this Order on the counterparty to each Rejected Lease, or their counsel if known.




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                   37.   Notwithstanding any applicability of Bankruptcy Rules 6004, 6006, 7062,

9014, or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

                   38.   The APA and any related agreements, documents or other instruments

may be modified, amended or supplemented by the parties thereto and in accordance with the

terms thereof, without further order of the Court, provided that any such modification,

amendment or supplement does not have a material adverse effect on the Debtors’ estates.

                   39.   The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the APA, the Sale, implementation, interpretation and/or enforcement of this

Order.




         Dated: May 27th, 2020                         CHRISTOPHER S. SONTCHI
         Wilmington, Delaware                          UNITED STATES BANKRUPTCY JUDGE




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